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      UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                                       Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                             Phone: (312) 435-5850
             Chicago, Illinois 60604                                                   www.ca7.uscourts.gov




                                         NOTICE OF ISSUANCE OF MANDATE
 May 4, 2021


To:            Robert N. Trgovich
               UNITED STATES DISTRICT COURT
               Northern District of Indiana
               Fort Wayne , IN 46802-0000


                                         TERRY L. LYMON,
                                         Plaintiff - Appellant

 No. 20-3022                             v.

                                         UNITED AUTO WORKERS UNION, LOCAL 2209,
                                         Defendant - Appellee

  Originating Case Information:

 District Court No: 1:20-cv-00169-HAB-SLC
 Northern District of Indiana, Fort Wayne Division
 District Judge Holly A. Brady
Herewith is the mandate of this court in this appeal, along with the Bill of Costs, if any. A
certified copy of the opinion/order of the court and judgment, if any, and any direction as to
costs shall constitute the mandate.


  RECORD ON APPEAL STATUS:                                       No record to be returned




NOTE TO COUNSEL:
If any physical and large documentary exhibits have been filed in the above-entitled cause, they are
to be withdrawn ten (10) days from the date of this notice. Exhibits not withdrawn during this period
will be disposed of.
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Please acknowledge receipt of these documents on the enclosed copy of this notice.

                           -----------------------------------




 Received above mandate and record, if any, from the Clerk, U.S. Court of Appeals for the
 Seventh Circuit.

 Date:                                               Received by:


 _________________________                           ____________________________________




 form name: c7_Mandate(form ID: 135)
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     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



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        Room 2722 - 219 S. Dearborn Street                                      Phone: (312) 435-5850
             Chicago, Illinois 60604                                            www.ca7.uscourts.gov




                                                    FINAL JUDGMENT
 April 12, 2021


    Before:                             ILANA DIAMOND ROVNER, Circuit Judge
                                        DAVID F. HAMILTON, Circuit Judge
                                        AMY J. ST. EVE, Circuit Judge




                                         TERRY L. LYMON,
                                         Plaintiff - Appellant

 No. 20-3022                             v.

                                         UNITED AUTO WORKERS UNION, LOCAL 2209,
                                         Defendant - Appellee

  Originating Case Information:

 District Court No: 1:20-cv-00169-HAB-SLC
 Northern District of Indiana, Fort Wayne Division
 District Judge Holly A. Brady

We VACATE the judgment on the Title VII claims and REMAND them for further
proceedings, but we AFFIRM in all other respects. The above is in accordance with the
decision of this court entered on this date. Each side shall bear their own costs.




 form name: c7_FinalJudgment(form ID: 132)
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                        NONPRECEDENTIALȱDISPOSITIONȱ
                ToȱbeȱcitedȱonlyȱinȱaccordanceȱwithȱFed.ȱR.ȱApp.ȱP.ȱ32.1ȱ
ȱȱ
ȱ

                United States Court of Appeals
                                 ForȱtheȱSeventhȱCircuitȱ
                                 Chicago,ȱIllinoisȱ60604ȱ
                                             ȱ
                                SubmittedȱAprilȱ12,ȱ2021*ȱ
                                 DecidedȱAprilȱ12,ȱ2021ȱ
                                             ȱ
                                          Beforeȱ
ȱ
                       ILANAȱDIAMONDȱROVNER,ȱCircuitȱJudgeȱ
                       ȱ
                       DAVIDȱF.ȱHAMILTON,ȱCircuitȱJudgeȱ
                       ȱ
                       AMYȱJ.ȱST.ȱEVE,ȱCircuitȱJudgeȱ
ȱ
No.ȱ20Ȭ3022ȱ
ȱ
TERRYȱLYMON,ȱ                              ȱ      AppealȱfromȱtheȱUnitedȱStatesȱDistrictȱ
ȱ     PlaintiffȬAppellant,ȱ                       CourtȱforȱtheȱNorthernȱDistrictȱofȱ
ȱ                                                 Indiana,ȱFortȱWayneȱDivision.ȱ ȱ
ȱ                                                 ȱ
ȱ     v.ȱ                                         No.ȱ1:20ȬcvȬ00169ȬHABȬSLCȱ
ȱ                                                 ȱ
UNITEDȱAUTOȱWORKERSȱUNION,ȱ                       HollyȱA.ȱBrady,ȱ
LOCALȱ2209,ȱ                                      Judge.ȱ
ȱ     DefendantȬAppellee.ȱ
ȱ
                                        OȱRȱDȱEȱRȱ ȱ

       TerryȱLymon,ȱwhoȱisȱAfricanȱAmerican,ȱaskedȱhisȱunionȱtoȱpursueȱaȱgrievanceȱ
aboutȱhisȱemploymentȱdischarge.ȱTheȱunionȱagreedȱbut,ȱdespiteȱLymon’sȱinquiries,ȱitȱ
neverȱtoldȱhimȱthatȱitȱleftȱidleȱandȱthen,ȱthreeȱyearsȱlater,ȱdroppedȱhisȱgrievance.ȱTheȱ
unionȱkeptȱtheȱgrievance’sȱstatusȱsecretȱfromȱLymonȱforȱanotherȱfourȱyears,ȱuntilȱitsȱ
                            ȱ
       *ȱWeȱhaveȱagreedȱtoȱdecideȱthisȱcaseȱwithoutȱoralȱargumentȱbecauseȱtheȱbriefsȱ

andȱrecordȱadequatelyȱpresentȱtheȱfactsȱandȱlegalȱarguments,ȱandȱoralȱargumentȱwouldȱ
notȱsignificantlyȱaidȱtheȱcourt.ȱFED.ȱR.ȱAPP.ȱP.ȱ34(a)(2)(C).ȱ
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No.ȱ20Ȭ3022ȱ                                   ȱ                                     Pageȱ 2ȱ
ȱ
newȱleaderȱfinallyȱansweredȱLyman’sȱquestionsȱaboutȱhisȱgrievance.ȱLymonȱpromptlyȱ
pursuedȱanȱappealȱwithinȱtheȱunion,ȱfiledȱanȱadministrativeȱchargeȱofȱdiscriminationȱ
withȱtheȱEqualȱEmploymentȱOpportunityȱCommissionȱwithinȱ300ȱdaysȱofȱthatȱappeal,ȱ
andȱthenȱsuedȱtheȱunionȱforȱraceȱdiscriminationȱandȱbreachȱofȱitsȱdutyȱofȱfairȱ
representation.ȱTheȱdistrictȱcourtȱdismissedȱtheȱcaseȱonȱtheȱpleadings,ȱreasoningȱthatȱtheȱ
claimsȱwereȱeitherȱtimeȬbarredȱbyȱtheȱsevenȬyearȱgapȱorȱoutsideȱtheȱscopeȱofȱLymon’sȱ
chargeȱtoȱtheȱEEOC.ȱIfȱLymonȱcanȱproveȱhisȱallegationȱthat,ȱthroughȱnoȱfaultȱofȱhisȱown,ȱ
theȱunionȱintentionallyȱkeptȱhimȱinȱtheȱdarkȱaboutȱitsȱhandlingȱofȱtheȱgrievanceȱforȱ
sevenȱyears,ȱequitableȱtollingȱcanȱsaveȱhisȱraceȬdiscriminationȱclaims;ȱfurther,ȱhisȱEEOCȱ
chargeȱexhaustedȱhisȱraceȱclaims.ȱThus,ȱweȱvacateȱtheȱjudgmentȱinȱpartȱandȱremand.ȱ ȱ
       ȱ
       InȱJulyȱ2004,ȱafterȱLymonȱlostȱhisȱjob,ȱhisȱunionȱagreedȱtoȱgrieveȱtheȱdischargeȱ
butȱhadȱhimȱwaitȱsevenȱyearsȱforȱaȱresolution.ȱLymonȱwasȱaȱduesȬpayingȱmemberȱinȱ
goodȱstandingȱwithȱhisȱunion,ȱtheȱUnitedȱAutoȱWorkersȱUnion,ȱLocalȱ2209.ȱBelievingȱ
thatȱhisȱdischargeȱviolatedȱtheȱcollectiveȱbargainingȱagreement,ȱheȱaskedȱhisȱunionȱtoȱ
contestȱtheȱdischarge.ȱInȱlateȱ2004,ȱtheȱunionȱagreedȱtoȱfileȱtheȱgrievance.ȱButȱunknownȱ
toȱLymon,ȱtheȱunionȱletȱtheȱgrievanceȱsitȱidleȱforȱthreeȱyears,ȱduringȱwhichȱtimeȱtheȱ
unionȱrefusedȱtoȱanswerȱLymon’sȱinquiriesȱaboutȱitsȱstatus.ȱInȱJuneȱ2007,ȱtheȱunionȱ
withdrewȱtheȱgrievance.ȱEvenȱthen,ȱitȱdidȱnotȱtellȱLymonȱaboutȱtheȱwithdrawal,ȱdespiteȱ
hisȱfurtherȱinquiries.ȱHeȱlearnedȱofȱtheȱwithdrawalȱonlyȱfourȱyearsȱlater,ȱinȱAprilȱ2011,ȱ
whenȱtheȱlocalȱunion’sȱnewȱleaderȱfinallyȱrespondedȱtoȱLymon.ȱTheȱleaderȱsawȱthatȱ
Lymonȱneverȱreceivedȱnoticeȱofȱtheȱwithdrawal,ȱsoȱthatȱmonth—sevenȱyearsȱafterȱtheȱ
grievance’sȱfiling,ȱandȱfourȱyearsȱafterȱitsȱwithdrawal—theȱunionȱnotifiedȱLymonȱthatȱ
hisȱcaseȱhadȱbeenȱwithdrawn.ȱ ȱ
       ȱ
       Lymonȱimmediatelyȱappealedȱwithinȱtheȱunion,ȱaȱstepȱthatȱtheȱunionȱrequiresȱofȱ
itsȱmembersȱbeforeȱtheyȱmayȱsue.ȱLymonȱfirstȱappealedȱlocally.ȱBecauseȱtheȱwithdrawalȱ
occurredȱfourȱyearsȱearlier,ȱtheȱunionȱruledȱinȱJulyȱ2011ȱthatȱhisȱappealȱofȱtheȱ
withdrawalȱwasȱuntimely.ȱLymonȱappealedȱthatȱdecisionȱtoȱtheȱunion’sȱinternationalȱ
board.ȱItȱnotifiedȱhimȱinȱMarchȱ2012ȱthatȱhisȱappealȱwasȱpendingȱandȱthenȱrejectedȱitȱinȱ
Decemberȱ2012ȱasȱuntimely.ȱ
       ȱ
       Anticipatingȱthisȱresult,ȱLymonȱfiledȱaȱchargeȱofȱdiscriminationȱwithȱtheȱEEOCȱ
withinȱnineȱmonthsȱofȱtheȱlocalȱunion’sȱrejectionȱofȱhisȱappeal.ȱHeȱchargedȱinȱAprilȱ2012ȱ
thatȱtheȱunionȱraciallyȱdiscriminatedȱagainstȱhimȱbyȱidlingȱandȱwithdrawingȱhisȱ
grievance,ȱandȱbyȱnotȱnotifyingȱhimȱaboutȱitȱinȱorderȱ“toȱdeny”ȱthatȱheȱappealedȱ“inȱaȱ
timelyȱmanner.”ȱTheȱEEOCȱtookȱeightȱyears,ȱinexplicably,ȱuntilȱMarchȱ2020,ȱtoȱissueȱaȱ
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ȱ
rightȬtoȬsueȱletter.ȱ(Theȱunionȱdoesȱnotȱargueȱthatȱthisȱdelayȱrendersȱtheȱraceȱclaimsȱ
untimely.)ȱ
        ȱ
        OneȱmonthȱafterȱreceivingȱhisȱrightȬtoȬsueȱletter,ȱLymonȱsuedȱtheȱunionȱonȱtwoȱ
grounds,ȱbothȱofȱwhichȱtheȱdistrictȱcourtȱdismissedȱonȱtheȱpleadings.ȱFirst,ȱheȱallegedȱ
thatȱtheȱunionȱbreachedȱitsȱdutyȱofȱfairȱrepresentation,ȱviolatingȱtheȱNationalȱLaborȱ
RelationsȱAct,ȱ29ȱU.S.C.ȱ§§ȱ151–69.ȱSecond,ȱheȱassertedȱthatȱtheȱlocalȱunionȱhadȱ
discriminatedȱagainstȱhimȱbasedȱonȱrace,ȱviolatingȱTitleȱVIIȱofȱtheȱCivilȱRightsȱActȱofȱ
1964,ȱ42ȱU.S.C.ȱ§ȱ2000eȬ2,ȱbyȱidlingȱhisȱgrievanceȱinȱ2004,ȱfailingȱtoȱnotifyȱhimȱofȱitsȱ
withdrawalȱinȱ2007,ȱandȱdenyingȱhisȱappealȱinȱ2011.ȱTheȱcourtȱgrantedȱtheȱunion’sȱ
motionȱtoȱdismiss.ȱItȱfirstȱruledȱthatȱLymonȱhadȱtoȱfileȱhisȱfairȬrepresentationȱclaimȱ
withinȱsixȱmonthsȱofȱtheȱendȱofȱtheȱunion’sȱinternalȱgrievanceȱprocess;ȱthatȱwasȱ
Decemberȱ2012,ȱmoreȱthanȱsevenȱyearsȱbeforeȱLymonȱsued.ȱTheȱTitleȱVIIȱclaimsȱbasedȱ
onȱtheȱidledȱ2004ȱgrievanceȱandȱtheȱwithdrawalȱofȱtheȱgrievanceȱinȱ2007ȱwereȱuntimely,ȱ
theȱcourtȱcontinued,ȱbecauseȱLymonȱdidȱnotȱfileȱhisȱEEOCȱchargeȱuntilȱAprilȱ2012,ȱmoreȱ
thanȱ300ȱdaysȱafterȱthoseȱacts.ȱTheȱEEOCȱchargeȱwasȱtimelyȱrelativeȱtoȱhisȱclaimȱaboutȱ
toȱtheȱlocalȱunion’sȱrejectionȱinȱJulyȱ2011ȱofȱhisȱinternalȱappeal,ȱbutȱthatȱclaim,ȱtheȱcourtȱ
stated,ȱwasȱnotȱmentionedȱinȱtheȱEEOCȱchargeȱandȱthusȱunexhausted.ȱ
        ȱ
        Onȱappeal,ȱLymonȱfirstȱchallengesȱtheȱdismissalȱofȱhisȱraceȬdiscriminationȱclaimsȱ
asȱtimeȬbarred,ȱarguingȱthatȱtheȱcourtȱresolvedȱdisputedȱfactsȱatȱtheȱpleadingȱstage.ȱHeȱ
recognizesȱthat,ȱforȱhisȱclaimȱthatȱtheȱunionȱidledȱhisȱchargeȱinȱ2004ȱandȱwithdrewȱitȱinȱ
2007,ȱheȱfiledȱhisȱEEOCȱchargeȱmoreȱthanȱ300ȱdaysȱafterȱtheseȱevents.ȱAndȱnormally,ȱ
claimsȱarisingȱunderȱTitleȱVIIȱmustȱbeȱbroughtȱwithinȱ300ȱdaysȱofȱtheȱallegedlyȱ
unlawfulȱact.ȱ42ȱU.S.C.ȱ§ȱ2000eȬ5(e)(1).ȱButȱLymonȱargues,ȱasȱheȱdidȱinȱtheȱdistrictȱcourt,ȱ
thatȱheȱcouldȱnotȱhaveȱbroughtȱhisȱclaimsȱwithinȱ300ȱdaysȱofȱtheȱactsȱbecauseȱtheȱunion,ȱ
throughȱitsȱrefusalȱtoȱrespondȱtoȱhim,ȱconcealedȱfromȱhim—untilȱ2011—itsȱactions.ȱ
Furthermore,ȱheȱcontinues,ȱimmediatelyȱafterȱlearningȱofȱtheseȱevents,ȱheȱstartedȱtheȱ
union’sȱrequiredȱappealsȱprocess,ȱandȱheȱfiledȱhisȱEEOCȱchargeȱwithinȱ300ȱdaysȱofȱtheȱ
localȱunion’sȱendȱofȱthatȱprocessȱinȱJulyȱ2011.ȱ
        ȱ
        Theȱdistrictȱcourtȱwronglyȱruled,ȱonȱtheȱpleadings,ȱthatȱLymon’sȱclaimsȱthatȱtheȱ
unionȱdiscriminatedȱagainstȱhimȱinȱ2004ȱandȱ2007ȱwereȱtimeȬbarred.ȱInȱlimitedȱ
circumstances,ȱtheȱdoctrineȱofȱequitableȱtollingȱcanȱextendȱaȱlimitationsȱperiodȱwhere,ȱ
despiteȱdueȱdiligence,ȱaȱplaintiffȱcannotȱobtainȱtheȱinformationȱnecessaryȱtoȱlearnȱthatȱ
heȱmayȱhaveȱaȱclaim.ȱAllenȱv.ȱChicagoȱTransitȱAuth.,ȱ317ȱF.3dȱ696,ȱ698ȱ(7thȱCir.ȱ2003)ȱ
(citingȱNat’lȱR.R.ȱPassengerȱCorp.ȱv.ȱMorgan,ȱ536ȱU.S.ȱ101ȱ(2002)).ȱTakingȱLymon’sȱfactualȱ
allegationsȱasȱtrue,ȱasȱweȱmustȱatȱthisȱstage,ȱseeȱAllenȱv.ȱGreatBancȱTrustȱCo.,ȱ835ȱF.3dȱ670,ȱ
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674ȱ(7thȱCir.ȱ2016),ȱheȱhasȱadequatelyȱallegedȱgroundsȱforȱequitableȱtolling.ȱHeȱassertsȱ
that,ȱthroughȱnoȱfaultȱofȱhisȱownȱandȱdespiteȱvigorousȱeffortsȱtoȱkeepȱtabsȱonȱhisȱ
grievance,ȱheȱdidȱnotȱandȱcouldȱnotȱknowȱ(becauseȱofȱtheȱunion’sȱstonewalling)ȱuntilȱ
Aprilȱ2011ȱthatȱtheȱunionȱhadȱsatȱonȱandȱthenȱwithdrawnȱhisȱgrievance.ȱAtȱthatȱpointȱheȱ
initiatedȱtheȱrequiredȱinternalȱappeals.ȱOfȱcourse,ȱtheȱunionȱmayȱdisputeȱLymon’sȱ
allegations,ȱandȱfactȱdevelopmentȱmayȱrevealȱthatȱhisȱinquiriesȱwereȱinsufficientȱorȱthatȱ
theȱunion’sȱresponsesȱwereȱmoreȱrevealing.ȱButȱatȱthisȱstageȱLymon’sȱallegationsȱsufficeȱ
toȱwithstandȱdismissalȱonȱtimelinessȱgrounds.ȱ ȱ
        ȱȱ
        Theȱunionȱcountersȱthat,ȱevenȱifȱtheȱlimitationsȱperiodȱisȱtolledȱuntilȱAprilȱ2011,ȱ
Lymon’sȱclaimsȱareȱuntimelyȱbecauseȱheȱdidȱnotȱfileȱanȱEEOCȱchargeȱuntilȱAprilȱ2012,ȱ
moreȱthanȱ300ȱdaysȱafterȱlearningȱaboutȱtheȱdroppedȱgrievance.ȱButȱLymonȱallegesȱthatȱ
theȱunionȱrequiredȱhimȱtoȱexhaustȱitsȱinternalȱappealȱprocessȱbeforeȱfilingȱaȱfederalȱ
lawsuit.ȱAȱlimitationsȱperiodȱforȱaȱclaimȱagainstȱaȱunionȱforȱviolatingȱitsȱdutyȱofȱfairȱ
representationȱisȱtolledȱduringȱtheȱpendencyȱofȱaȱunion’sȱrequired,ȱinternalȱappealȱ
process.ȱSeeȱFrandsenȱv.ȱBhd.ȱofȱRy.,ȱAirline,ȱ&ȱS.S.ȱClerks,ȱ782ȱF.2dȱ674,ȱ681ȱ(7thȱCir.ȱ1986).ȱ
Theȱunionȱhasȱnotȱargued,ȱletȱaloneȱexplained,ȱwhyȱthatȱruleȱshouldȱnotȱapplyȱtoȱotherȱ
claims,ȱlikeȱTitleȱVII.ȱLymonȱbeganȱthatȱprocessȱinȱAprilȱ2011;ȱtheȱlocalȱunionȱdeniedȱhisȱ
appealȱinȱJulyȱ2011,ȱandȱtheȱunionȱdoesȱnotȱdisputeȱthatȱLymonȱfiledȱhisȱEEOCȱchargeȱ
withinȱ300ȱdaysȱofȱthatȱdenial,ȱinȱAprilȱ2012.ȱSoȱtollingȱcanȱsaveȱthisȱclaim.ȱ
        ȱ
        TheȱnextȱissueȱisȱwhetherȱLymonȱexhaustedȱwithȱtheȱEEOCȱhisȱclaimȱthatȱtheȱ
localȱunionȱwronglyȱdeniedȱhisȱinternalȱappealȱinȱJulyȱ2011.ȱTheȱdistrictȱcourtȱthoughtȱ
thatȱLymonȱfiledȱhisȱchargeȱwithinȱ300ȱdaysȱofȱthisȱevent,ȱbutȱthatȱheȱdidȱnotȱadequatelyȱ
chargeȱthatȱtheȱunionȱdeniedȱhisȱappealȱbecauseȱofȱhisȱrace.ȱWeȱdisagree.ȱDistrictȱcourtsȱ
shouldȱ“reviewȱtheȱscopeȱofȱanȱEEOCȱchargeȱliberally,”ȱHuriȱv.ȱOfficeȱofȱtheȱChiefȱJudgeȱofȱ
theȱCircuitȱCourtȱofȱCookȱCty.,ȱ804ȱF.3dȱ826,ȱ831ȱ(7thȱCir.ȱ2015),ȱandȱaȱclaimȱisȱexhaustedȱifȱ
theȱfederalȱcomplaintȱisȱ“reasonablyȱrelatedȱto”ȱtheȱEEOCȱcharge.ȱId.ȱ(internalȱcitationȱ
omitted).ȱThatȱisȱtheȱcaseȱhere.ȱLymonȱchargedȱthat,ȱbecauseȱofȱhisȱrace,ȱtheȱunionȱ
concealedȱitsȱactionsȱfromȱhimȱinȱorderȱ“toȱdeny”ȱthatȱheȱappealedȱ“inȱaȱtimelyȱ
manner.”ȱThatȱchargeȱreasonablyȱrelatesȱtoȱLymon’sȱclaimȱinȱthisȱsuitȱthatȱtheȱunionȱ
deniedȱhisȱinternalȱappealȱbecauseȱofȱhisȱrace.ȱSeeȱid.ȱatȱ831–32ȱ(plaintiffȱ“needȱnotȱ
includeȱinȱherȱchargeȱeveryȱfactȱthat,ȱindividuallyȱorȱinȱcombination,ȱformsȱtheȱbasisȱofȱ
aȱsubsequentȱlawsuit’sȱclaims”ȱifȱtheȱcomplaintȱinvolvesȱsameȱconductȱandȱimplicatesȱ
sameȱdefendant).ȱ ȱ
        ȱ
        Theȱunionȱrespondsȱthatȱtheȱchargeȱisȱinsufficientȱbecauseȱtheȱonlyȱmonthȱthatȱitȱ
mentionsȱisȱMarchȱ2012.ȱThatȱisȱtheȱmonth,ȱtheȱunionȱobserves,ȱwhenȱtheȱinternationalȱ
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ȱ
boardȱnotifiedȱLymonȱthatȱhisȱsecondȱinternalȱappealȱwasȱpending;ȱJulyȱ2011ȱisȱwhenȱ
theȱlocalȱunionȱdeniedȱtheȱappeal.ȱButȱtheȱreferenceȱtoȱMarchȱ2012ȱreasonablyȱnotifiedȱ
theȱlocalȱunionȱthatȱLymonȱwantedȱtoȱchallengeȱitsȱdenialȱofȱhisȱappeal.ȱAfterȱall,ȱtheȱ
subjectȱofȱtheȱMarchȱ2012ȱnoticeȱfromȱtheȱinternationalȱboardȱwasȱLymon’sȱchallengeȱtoȱ
theȱlocalȱunion’sȱdenialȱofȱhisȱappealȱinȱJulyȱ2011.ȱAndȱtheȱremainderȱofȱtheȱEEOCȱ
chargeȱaccusesȱtheȱlocalȱunionȱofȱclaimingȱthatȱLymonȱfailedȱtoȱfileȱaȱtimelyȱinternalȱ
appeal,ȱwhichȱisȱexactlyȱwhatȱtheȱlocalȱunionȱsaidȱinȱtheȱdenialȱfromȱJulyȱ2011.ȱ
Accordingly,ȱLymon’sȱchargeȱreasonablyȱnotifiedȱtheȱunionȱthatȱheȱwasȱchallengingȱasȱ
discriminatoryȱitsȱdenialȱofȱhisȱinternalȱappealȱinȱJulyȱ2011.ȱ ȱ
        ȱ
        Finally,ȱLymonȱchallengesȱtheȱdismissalȱofȱhisȱfairȬrepresentationȱclaim,ȱbutȱtheȱ
districtȱcourtȱproperlyȱdismissedȱthatȱclaimȱasȱuntimely.ȱTheȱlatestȱpossibleȱdateȱLymonȱ
couldȱhaveȱbroughtȱtheȱclaimȱwasȱJulyȱ22,ȱ2013—sixȱmonthsȱafterȱheȱknewȱthatȱtheȱ
unionȱhadȱrejectedȱhisȱfinalȱappeal.ȱSeeȱTahaȱv.ȱInt’lȱBhd.ȱofȱTeamsters,ȱLocalȱ781,ȱ947ȱF.3dȱ
464,ȱ472ȱ(7thȱCir.ȱ2020);ȱDelCostelloȱv.ȱInt’lȱBhd.ȱofȱTeamsters,ȱ462ȱU.S.ȱ151,ȱ169–72ȱ(1983).ȱ
Lymon’sȱlawsuit,ȱfiledȱinȱAprilȱ2020,ȱcameȱalmostȱsevenȱyearsȱtooȱlate.ȱLymonȱrepliesȱ
thatȱtheȱsameȱtimingȱrulesȱthatȱgovernȱTitleȱVIIȱshouldȱapplyȱtoȱthisȱclaim,ȱbutȱheȱisȱ
mistaken.ȱAȱclaimȱforȱbreachȱofȱtheȱdutyȱofȱfairȱrepresentationȱunderȱtheȱNationalȱLaborȱ
RelationsȱAct,ȱunlikeȱaȱclaimȱunderȱTitleȱVII,ȱdoesȱnotȱrequireȱexhaustionȱwithȱtheȱ
EEOC,ȱevenȱwhenȱtheȱclaimsȱareȱfactuallyȱintertwined.ȱXanthopoulosȱv.ȱU.S.ȱDep’tȱofȱ
Labor,ȱȬȬȬȱF.3dȱȬȬȬȬ,ȱNo.ȱ20Ȭ2604,ȱ2021ȱWLȱ1083636,ȱatȱ**6ȱ(7thȱCir.ȱMar.ȱ22,ȱ2021).ȱ ȱ
        ȱ
        Accordingly,ȱweȱVACATEȱtheȱjudgmentȱonȱtheȱTitleȱVIIȱclaimsȱandȱREMANDȱ
themȱforȱfurtherȱproceedings,ȱbutȱweȱAFFIRMȱinȱallȱotherȱrespects.ȱ ȱ
